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                         UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES

Date: March 8, 2022           Time: 16 minutes              Judge: RICHARD SEEBORG
Case No.: 20-cr-00249-RS      Case Name: USA v. Rowland Marcus Andrade




Attorney for Government: Andrew Dawson, Ross Weingarten
Attorney for Defendant: Michael Shepard
Defendant : [X] Present [ ] Not Present
Defendant Custodial Status: [] In Custody [X ] Not in Custody

Deputy Clerk: Corinne Lew                                     Court Reporter: Gina Colin
Interpreter: n/a                                              Probation Officer: n/a

                                      PROCEEDINGS

 Status Conference Held - via Zoom.

                                       SUMMARY

 Court proceedings held by Zoom/Video Conference. General Order 74 authorizes the
 Court to proceed by way of video conference hearing.

 Case Continued to: May 31, 2022 at 2:30 pm for Further Status Hearing before Judge
 Seeborg to be held via zoom.

 EXCLUDABLE DELAY:
 Category: Effective Preparation of Counsel
 Begins: 3/8/2022
 Ends: 5/31/2022

 Government to prepare an exclusion order.
